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 1    Brian C. Rocca, S.B. #221576                          Glenn D. Pomerantz, S.B. #112503
      brian.rocca@morganlewis.com                           glenn.pomerantz@mto.com
 2    Sujal J. Shah, S.B. #215230                           Kuruvilla Olasa, S.B. #281509
      sujal.shah@morganlewis.com                            kuruvilla.olasa@mto.com
 3    Michelle Park Chiu, S.B. #248421                      Nicholas R. Sidney, S.B. #308080
      michelle.chiu@morganlewis.com                         nick.sidney@mto.com
 4    Minna Lo Naranjo, S.B. #259005                        MUNGER, TOLLES & OLSON LLP
      minna.naranjo@morganlewis.com                         350 South Grand Avenue, Fiftieth Floor
 5    Rishi P. Satia, S.B. #301958                          Los Angeles, California 90071
      rishi.satia@morganlewis.com                           Telephone: (213) 683-9100
 6    MORGAN, LEWIS & BOCKIUS LLP
      One Market, Spear Street Tower                        Kyle W. Mach, S.B. #282090
 7    San Francisco, CA 94105                               kyle.mach@mto.com
      Telephone: (415) 442-1000                             Justin P. Raphael, S.B. #292380
 8                                                          justin.raphael@mto.com
      Richard S. Taffet, pro hac vice                       Emily C. Curran-Huberty, S.B. #293065
 9    richard.taffet@morganlewis.com                        emily.curran-huberty@mto.com
      MORGAN, LEWIS & BOCKIUS LLP                           Dane P. Shikman, S.B. #313656
10    101 Park Avenue                                       dane.shikman@mto.com
      New York, NY 10178                                    Rebecca L. Sciarrino, S.B. # 336729
11    Telephone: (212) 309-6000                             rebecca.sciarrino@mto.com
                                                            MUNGER, TOLLES & OLSON LLP
12    Counsel for Defendants Google LLC, et al.             560 Mission Street, Twenty Seventh Floor
                                                            San Francisco, California 94105
13                                                          Telephone: (415) 512-4000
14                                                          Jonathan I. Kravis, pro hac vice
                                                            jonathan.kravis@mto.com
15                                                          Lauren Bell, pro hac vice
                                                            lauren.bell@mto.com
16                                                          MUNGER, TOLLES & OLSON LLP
                                                            601 Massachusetts Avenue NW, Suite 500E
17                                                          Washington, D.C. 20001
                                                            Telephone: (202) 220-1100
18
                                                            Neal Kumar Katyal, pro hac vice
19                                                          neal.katyal@hoganlovells.com
                                                            Jessica L. Ellsworth, pro hac vice
20                                                          jessica.ellsworth@hoganlovells.com
                                                            HOGAN LOVELLS US LLP
21                                                          555 Thirteenth Street, NW
                                                            Washington, D.C. 20004
22                                                          Telephone: (202) 637-5600
23

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 1                                  UNITED STATES DISTRICT COURT

 2                              NORTHERN DISTRICT OF CALIFORNIA
 3
                                         SAN FRANCISCO DIVISION
 4

 5
      IN RE GOOGLE PLAY STORE                               Case No. 3:21-md-02981-JD
 6    ANTITRUST LITIGATION
                                                            DEFENDANTS’ TRIAL BRIEF
 7    This Document Relates To:
                                                            Judge:       Hon. James Donato
 8    Epic Games Inc. v. Google LLC et al., Case
      No. 3:20-cv-05671-JD
 9
      In re Google Play Consumer Antitrust
10    Litigation, Case No. 3:20-cv-05761-JD

11    State of Utah et al. v. Google LLC et al.,
      Case No. 3:21-cv-05227-JD
12
      Match Group, LLC et al. v. Google LLC et al.,
13    Case No. 3:22-cv-02746-JD

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 1 I.       INTRODUCTION

 2          Google created Android to provide more choice in the mobile ecosystem. Instead of

 3 building another walled garden, Android offered a new open approach, putting choice in the hands

 4 of users and developers and harnessing the innovation of phone manufacturers. Unlike Apple,

 5 which controls all manufacturing of iPhones and distributing apps for iPhones, Google enables

 6 phone manufacturers to build a variety of Android phones at different prices. That business model

 7 has unlocked tremendous value for users and developers: more and cheaper devices, millions of

 8 free and safe apps, and access to billions of potential customers. The conduct challenged by Epic

 9 and Match—agreements with phone manufacturers and developers, security policies, and a service
10 fee model—is how Android competes with Apple’s iOS and other platforms.

11          App stores are a critical part of the competition between Android and iOS because
12 applications (or apps) are central to the experience that a smartphone platform provides to users.

13 If apps are hard to find, or difficult to acquire safely and securely, or simply do not exist on

14 Android, users are more likely to buy an iPhone. Thus, to compete with iOS, Google operates an

15 app store that competes with Apple’s App Store. For developers, the Play store provides a way to

16 showcase their apps to millions of users around the world, as well as software development tools

17 to help them build, refine, and market their apps. For users, the Play store provides a safe, secure,

18 reliable way to find and acquire the apps that define the smartphone experience today.

19          Those users pay nothing to use the Play store. When millions of users download free apps
20 like Epic’s Fortnite or Match’s dating apps, Google charges them nothing. Developers pay

21 service fees only when they make money from selling subscriptions or digital add-ons inside apps

22 downloaded from the Play store. Epic and Match disagree with how Google has chosen to charge

23 for its services and simply do not want to pay for them. They seek to misuse the antitrust laws to

24 upend an ecosystem that has enhanced competition, and benefited consumers and developers,

25 based on the fiction that Google does not compete against Apple. Epic asserted the same theory

26 against Apple. It lost. Plaintiffs’ claims against Google will fail for many of the same reasons

27 (and others). The Ninth Circuit held that Apple has not unlawfully monopolized the market by

28 requiring all iPhone users to use the Apple App Store. The evidence will show that Google, which
                                                         -1-
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 1 enables users to choose between app stores, has not violated the antitrust laws either.

 2 II.       PLAINTIFFS’ CLAIMS WILL FAIL AT TRIAL

 3           A.      Plaintiffs’ Section 2 Monopolization Claim Will Fail

 4           Plaintiffs assert that Google engaged in unlawful monopolization in violation of Section 2

 5 of the Sherman Act, 15 U.S.C. § 2. “To establish liability under § 2, a plaintiff must show: (a) the

 6 possession of monopoly power in the relevant market; (b) the willful acquisition or maintenance

 7 of that power; and (c) causal antitrust injury.” FTC v. Qualcomm, Inc., 969 F.3d 974, 990 (9th

 8 Cir. 2020). Plaintiffs cannot prove these elements.

 9                   1.      Google Does Not Have Monopoly Power Because It Competes with
                             Apple and Other Platforms
10
             Plaintiffs cannot prove that Google has monopoly power because the Google Play store
11
     competes with the Apple App Store and other platforms. “Market power is the ability to raise
12
     price profitably by restricting output.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2288 (2018);
13
     see also Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421, 1434 (9th Cir. 1995). Monopoly power
14
     differs in degree from market power, requiring “something greater.” Epic Games, Inc. v. Apple,
15
     Inc. (“Apple II”), 67 F.4th 946, 998 (9th Cir. 2023). To prove monopoly power, Plaintiffs must
16
     first define a proper relevant antitrust market. Indeed, “[a] threshold step in any antitrust case is to
17
     accurately define the relevant market, which refers to ‘the area of effective competition.’”
18
     Qualcomm, 969 F.3d at 992. “Without a definition of the market there is no way to measure the
19
     defendant’s ability to lessen or destroy competition.” Amex, 138 S. Ct. at 2285 (cleaned up).
20
             “A relevant market contains both a geographic component and a product or service
21
     component.” Apple II, 67 F.4th at 975. “The goal in defining the relevant market is to identify the
22
     market participants and competitive pressures that restrain an individual firm’s ability to raise
23
     prices or restrict output.” Geneva Pharms. Tech. Corp. v. Barr Labs., Inc., 386 F.3d 485, 496 (2d
24
     Cir. 2004); see also Cmty. Publishers, Inc. v. Donrey Corp., 892 F. Supp. 1146, 1153 (W.D. Ark.
25
     1995) (“market constraints” also “limit one’s ability to reduce quality or service below
26
     competitive levels”). The market is “the group or groups of sellers or producers who have actual
27
     or potential ability to deprive each other of significant levels of business.” Thurman Indus., Inc. v.
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 1 Pay 'N Pak Stores, Inc., 875 F.2d 1369, 1374 (9th Cir. 1989). Thus, a relevant market must reflect

 2 “commercial realities.” Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 482

 3 (1992); see also Nat’l Coll. Athletic Assoc. v. Alston, 141 S. Ct. 2141, 2158 (2021) (requiring

 4 “careful analysis of market realities.”).

 5          Plaintiffs’ alleged product markets ignore commercial realities. Plaintiffs allege relevant

 6 markets for (1) distribution of apps for Android devices, and (2) billing services for transactions

 7 inside those apps. Plaintiffs thus claim that the Google Play store does not compete with the

 8 Apple App Store. The district court and the Ninth Circuit rejected this theory. Epic Games, Inc.

 9 v. Apple Inc. (“Apple I”), 559 F. Supp. 3d 898 (N.D. Cal. 2021), aff’d in part, rev’d in part, Apple
10 II, 67 F.4th 946. Epic “structured its lawsuit to argue that Apple does not compete with anyone; it

11 is a monopoly of one.” Apple I, 559 F. Supp. 3d at 921. But the Court found that “Epic Games’

12 sole focus on iOS devices simply ignores the market reality that is available to consumers.” Id. at

13 1025. The Court found that “Apple and Google compete with one another,” id. at 992 n.454, and

14 that Google “operates in the same market” as Apple, describing Google as “Apple’s main

15 competitor,” id. at 1031, 1036. The Ninth Circuit affirmed in a decision describing the Google

16 Play store as the App Store’s “main competitor.” Apple II, 67 F.4th at 985.

17          As explained in Google’s motion in limine (No. 1), collateral estoppel precludes Epic from
18 seeking a different decision here. It cannot be that the Apple App Store competes against the

19 Google Play store for purposes of Epic’s claims against Apple, but not Epic’s claims against

20 Google. Regardless, the evidence will show that the Play store and the Apple App Store compete

21 intensely on price, quality, and security. Google cannot have monopoly power when it competes

22 with Apple. E.g., Rebel Oil, 51 F.3d at 1443 (only “one firm alone” can monopolize).

23          Because apps are central to the smartphone experience, the Play store must compete with
24 the Apple App Store for Android to compete against Apple’s iOS and other platforms. The law

25 presumes that when consumers buy devices, they knowingly choose between products and

26 services for those devices, so competition between the iPhone and Android devices “will

27 significantly restrain power” over app stores. Kodak, 504 U.S. at 470; see Apple II, 67 F.4th at

28 978 (identifying an “economic presumption that . . . consumers make a knowing choice to restrict
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 1 their aftermarket options when they” make a purchase “in the initial (competitive) market”). To

 2 overcome that presumption, Plaintiffs must prove that (1) technical limits on what products work

 3 on mobile devices are not generally known when consumers buy the devices; (2) significant

 4 information costs prevent consumers from calculating the total cost of a mobile device and

 5 associated products and services; and (3) significant costs to switching mobile devices. Id. This

 6 test was not satisfied in Epic v. Apple and Plaintiffs will not satisfy it here, either.

 7          Google also must compete against other major companies in addition to Apple. Unlike on

 8 the iPhone, Android users have choices for how to install apps on their phones. Consumers can

 9 download Android apps directly from websites (known as “sideloading”) and choose between app
10 stores, including stores operated by major companies such as Samsung and Amazon. Indeed,

11 Samsung smartphones come with Samsung’s own app store on the home screen, right next to the

12 Play store. Consumers also can go to websites to buy subscriptions and other in-app add-ons for

13 products like Spotify and Netflix as well as Epic’s Fortnite and Match’s dating apps. Google

14 earns nothing when consumers make that choice.

15          Plaintiffs cannot prove that Google has monopoly power merely by showing that Google
16 has a high share of transactions in Android app stores. See Image Tech. Servs., Inc. v. Eastman

17 Kodak Co., 125 F.3d 1195, 1208 (9th Cir. 1997) (Section 2 plaintiff “must establish more than just

18 market share”). Plaintiffs must show that “new competitors face high market barriers to entry and

19 that current competitors lack the ability to expand their output . . . .” Id. Plaintiffs cannot prove

20 barriers that would prevent Samsung or Amazon from building competitive app stores if they

21 chose to make the investments like Google has. Nor can Plaintiffs prove that Google has

22 monopoly power merely because Plaintiffs would prefer to pay less or Google earns significant

23 profits: “[A] reasonable finder of fact cannot infer monopoly power just from higher prices,” and

24 “it is always treacherous to try to infer monopoly power from a high rate of return.” Blue Cross &

25 Blue Shield United of Wisconsin v. Marshfield Clinic, 65 F.3d 1406, 1412 (7th Cir. 1995).

26          Finally, Plaintiffs’ alleged geographic market for the entire world except for China is
27 artificial. It assumes that U.S. consumers would switch to app stores designed for foreign

28 countries in languages they do not speak with prices in currencies they do not use. Even if that
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 1 were true, there is no basis to exclude China from a global market merely because Google has

 2 chosen not to do business there. App stores used in China can and do expand to compete with

 3 Google in the rest of the world, constraining the exercise of market power. See Rebel Oil, 51 F.3d

 4 at 1436 (“A reasonable market definition must also be based on ‘supply elasticity.’”).

 5                  2.      Plaintiffs Cannot Prove that Google Engaged in Anticompetitive
                            Conduct that Harmed Users or Developers
 6
            Even the “possession of monopoly power, and the concomitant charging of monopoly
 7
     prices, is not [itself] unlawful; [instead,] it is an important element of the free-market
 8
     system.” Verizon Commc'ns Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407
 9
     (2004). “To safeguard the incentive to innovate, the possession of monopoly power will not be
10
     found unlawful [under § 2] unless it is accompanied by an element of anticompetitive conduct.”
11
     Id. “[T]o be condemned as exclusionary, a monopolist’s act must have an ‘anticompetitive
12
     effect’”—that is, it “must harm the competitive process and thereby harm consumers.” Id.
13
            Plaintiffs thus have “the initial burden to prove that the challenged restraint has a
14
     substantial anticompetitive effect that harms consumers in the relevant market.” Qualcomm, 969
15
     F.3d at 991. Anticompetitive effects include “reduced output, increased prices, or decreased
16
     quality in the relevant market” compared to competitive levels. Amex, 138 S. Ct. at 2284. App
17
     stores are two-sided platforms that sell a single product to two sets of consumers—users and
18
     developers—that enables them to transact with each other. Thus, Plaintiffs “must establish an
19
     anticompetitive impact on the ‘market as a whole,’” PLS.Com, LLC v. Nat’l Ass’n of Realtors, 32
20
     F.4th 824, 839 (9th Cir. 2022), accounting for impacts on users and developers, see Amex, 138 S.
21
     Ct. at 2287 (rejecting evidence that “wrongly focuses on only one side of the two-sided” market).
22
            Plaintiffs cannot meet that burden. The evidence will show “expanding output and
23
     improved quality” of devices, apps and app transactions. Amex, 138 S. Ct. at 2289. And Google’s
24
     prices were not “higher than the price one would expect to find in a competitive market.” Amex,
25
     138 S. Ct. at 2288. Users do not pay to use the Play store. Some 97 percent of developers pay no
26
     service fees. And Google’s service fees for the fraction of developers that do pay have declined
27
     over time, on average, and are the same or lower than the rates that Apple, Microsoft, Sony, and
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 1 others charge. See id. at 2289 (no anticompetitive effect where “plaintiffs did not show that Amex

 2 charged more than its competitors”). Cf. Somers v. Apple, Inc., 729 F.3d 953, 964 (9th Cir. 2013)

 3 (that Apple’s prices remained the same “renders implausible” claim of supracompetitive prices).

 4                  3.      Google’s Conduct Enhanced Competition with Apple and Benefited
                            Consumers
 5
            Even if Plaintiffs could prove that Google’s conduct harmed competition and consumers
 6
     (and they cannot), that would merely shift the burden to Google “proffer a procompetitive
 7
     justification for its conduct.” Id. This involves “a nonpretextual claim that its conduct is indeed a
 8
     form of competition on the merits because it involves, for example, greater efficiency or enhanced
 9
     consumer appeal.” Id. Google’s challenged conduct is procompetitive. It enhances the appeal of
10
     Android devices as compared to iPhones, expands consumers’ choice of devices, reduces device
11
     prices, expands the set of potential users for developers, and increases output of apps and
12
     transactions. See Apple II, 67 F.4th at 990 (“increasing the total number of iOS device users” was
13
     procompetitive); O'Bannon v. NCAA, 802 F.3d 1049, 1072 (9th Cir. 2015) (identifying “increasing
14
     consumer demand” as a procompetitive justification and stating “that a restraint that broadens
15
     choices can be procompetitive”). Google’s challenged conduct also made Android devices more
16
     secure, which benefited consumers and enhanced competition with Apple. See Apple II, 67 F.4th
17
     at 987 (“improving security and privacy” are “goals that are plainly procompetitive rationales”).
18
                    4.      Plaintiffs Cannot Prove that Google Could Have Generated These
19                          Massive Benefits With a Different Business Model

20          Plaintiffs will have the burden to “demonstrate that the procompetitive efficiencies could

21 be reasonably achieved through less anticompetitive means.” Qualcomm, 969 F.3d at 991. This

22 requires proof that Google had “a substantially less restrictive alternative,” i.e., one that would

23 have been “virtually as effective’ in serving [Google’s] procompetitive purposes . . . without

24 significantly increased cost.” Apple II, 67 F.4th at 990. In applying this standard, “antitrust courts

25 must give wide berth to business judgments before finding liability,” Alston, 141 S. Ct. at 2163,

26 and “should not second-guess degrees of reasonable necessity,” id. at 2161. Plaintiffs may wish

27 that Google’s business model cost them less, but they cannot prove that a different business model

28 would have generated the same enormous benefits for users and developers as a whole.
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 1                   5.       Balancing Is Not Required, but Google’s Conduct on Balance
                              Benefitted Users and Developers
 2
             In Epic v. Apple, the Ninth Circuit held that even if an antitrust plaintiff fails to prove a
 3
     less restrictive alternative, the factfinder “must proceed to step four and balance the restriction’s
 4
     anticompetitive harms against its procompetitive benefits.” Apple II, 67 F.4th at 994. Google
 5
     preserves for appellate review its argument that this step is contrary to the law. 1 But even if
 6
     balancing is permissible, “[i]n most instances,” balancing “will require nothing more than . . .
 7
     briefly confirming the result suggested by a step-three failure: that a business practice without a
 8
     less restrictive alternative is not, on balance, anticompetitive.” Id.
 9
             B.      Plaintiffs’ Section 1 and Cartwright Act Claims Will Fail
10
             Plaintiffs allege that Google unreasonably restrained trade in violation of Section 1 of the
11
     Sherman Act, 15 U.S.C. § 1, and California’s Cartwright Act. Section 1 and Section 2 allegations
12
     involve “essentially the same” “three-part burden-shifting test.” Qualcomm, 969 F.3d at 991;
13
     Apple I, 559 F. Supp. 3d at 1049 (same under Cartwright Act). For all the reasons outlined, supra,
14
     at 2-7, Plaintiffs will fail at every step of that test.
15
             C.      Plaintiffs’ Tying Claims Will Fail
16
             Plaintiffs allege that Google illegally ties its billing system to the Play store. Google
17
     charges developers service fees only when they sell apps in the Play store or sell digital content in
18
     apps downloaded from the Play store. Google requires developers to use Google Play Billing
19
     (“GPB”) only to make those sales. The Ninth Circuit held that it is “clearly lawful” for Apple to
20
     require developers to use its billing system. Apple II, 67 F.4th at 998. Plaintiffs, however, allege
21
     that it is illegal tying for Google to do the same. They allege that they should be able to use other
22
     billing systems to bypass paying anything for the services they get from the Play store. Plaintiffs’
23
     tying claims will fail for the same reason Epic lost its tying claim against Apple.
24
             The rule of reason applies to Plaintiffs’ claim that Google has tied “software that serves as
25
     a platform for third-party applications.” Apple II, 67 F.4th at 997 (rejecting parallel per se tying
26

27   1
     The panel in Epic v. Apple was “skeptical of the wisdom of superimposing a totality-of-the-
   circumstances balancing step,” noted that Epic had not “articulated what this balancing really
28 entails in a given case,” and stated that it was not “evident what value a balancing step adds.” Id.
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 1 claim against Apple). Just like Apple, Google is justified in requiring developers to use its billing

 2 system in order “to be compensated for its IP investment.” Id. at 996. In Epic v. Apple, “Epic

 3 propose[d] access to competing payment processors as an [alternative] to Apple’s” requirement to

 4 use its own billing system. Id. at 992. However, the Court found that “in a world where Apple

 5 maintains its distribution restriction but payment processing is opened up, Apple would still be

 6 contractually entitled to its 30% commission on in-app purchases.” Id. at 993. Epic failed to

 7 show how Apple could use an audit mechanism to collect those fees without “increased monetary

 8 and time costs.” Id. Here, too, Plaintiffs cannot show how Google could collect compensation for

 9 the value of its IP and services if developers could bypass Google’s billing system.
10          Even if per se scrutiny applied to Plaintiffs’ tying claim (and it does not), that claim will
11 fail. The elements of a per se tying claim are (1) the defendant “tied together the sale of two

12 distinct products or services,” (2) “the defendant possesses enough economic power in the tying

13 product market to coerce its customers into purchasing the tied product,” and (3) “the tying

14 arrangement affects a not insubstantial volume of commerce in the tied product market.” Cascade

15 Health Sols. v. PeaceHealth, 515 F.3d 883, 913 (9th Cir. 2008). As explained, Google does not

16 have power in the alleged “tying product market” for Android app distribution because Google

17 competes with Apple and other platforms. And Plaintiffs cannot show that Google “coerced or

18 forced its customer[s] to buy the tied product”—GPB—“in order to obtain the tying product,” the

19 Play store. Paladin Assocs., Inc. v. Montana Power Co., 328 F.3d 1145, 1159 (9th Cir. 2003).

20 Developers are free to distribute their apps through the Play store and then sell subscriptions and

21 IAPs through their websites, and pay Google nothing. Indeed, 97 percent of developers use the

22 Play store without using GPB.

23          D.      Plaintiffs’ Per Se Claims Regarding the Games Velocity Program Will Fail
24          Google’s Games Velocity Program involved nearly two dozen written agreements in which
25 Google offered gaming developers incentives to launch their apps in the Play store at the same

26 time as in the Apple App Store and other app stores. Google offered those incentives to twenty

27 developers who Plaintiffs do not allege had ever explored opening an app store. Plaintiffs

28 nevertheless allege that three developers who signed these incentive contracts—Activision
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 1 Blizzard, Riot Games, and Supercell—also agreed not to open their own app stores. Plaintiffs

 2 cannot prove any such agreement existed, and cannot show “evidence that tends to exclude the

 3 possibility that the alleged conspirators acted independently.” Matsushita Elec. Indus. Co. v.

 4 Zenith Radio Corp., 475 U.S. 574, 588 (1986). The facts that (a) Google offered developers a

 5 better deal to use the Play store and (b) some developers chose not to open their own app stores,

 6 are “as consistent with permissible competition as with illegal conspiracy.” Id.

 7          Even if Plaintiffs could prove an agreement, it would be subject to the rule of reason for

 8 the reasons Google explained in its motion for partial summary judgment. See MDL Dkt. 483 at

 9 9-13. Regardless, a per se claim also would fail because Plaintiffs cannot prove any injury
10 “caused by the anticompetitive aspects of the illegal act.” Rebel Oil, 51 F.3d at 1444. Neither

11 Epic nor Match was injured because Activision, Riot, or Supercell did not open an app store. 2

12          E.     Match’s Unique Claims Will Fail

13                 1.      Match’s Attempted Monopolization Claim Will Fail

14          Match (and only Match) brings an attempted monopolization claim under Section 2, which

15 requires proof “(1) that the defendant has engaged in predatory or anticompetitive conduct with (2)

16 a specific intent to monopolize and (3) a dangerous probability of achieving monopoly power.”

17 Coal. For ICANN Transparency, Inc. v. VeriSign, Inc., 611 F.3d 495, 506 (9th Cir. 2010). As

18 explained, Match cannot show anticompetitive conduct or any danger of monopoly power.

19                 2.      Match’s Exclusive Dealing Will Fail

20          Match (and only Match) alleges that Google’s requirement to use GPB is a form of

21 exclusive dealing. This claim is duplicative of Match’s tying claim and fails for the same reasons.

22                 3.      Match’s Tortious Interference Claims Will Fail

23          Match (and only Match) asserts claims for tortious interference with its contracts with

24 users and tortious interference with prospective economic advantage. Both claims require proof of

25
   2
     All parties agree that Epic’s and Match’s claims under the California Unfair Competition Law
26 (“UCL”) will be tried to the Court, not the jury. Google therefore does not address the substance
   of Plaintiffs’ UCL claims in this trial brief, and reserves discussion for a separate submission,
27 including proposed findings of fact and conclusions of law if the Court requests them. If Epic and
   Match’s claims are not tried together, then the Court and the parties may need to revisit the
28 question of which claims and defenses will be tried to a jury.
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 1 an “independently wrongful” act because Match’s agreements with users are at-will. See Korea

 2 Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1158 (2003) (required element of

 3 interference with prospective advantage claim); Ixchel Pharma, LLC v. Biogen, Inc., 9 Cal. 5th

 4 1130, 1148 (2020) (same requirement when contract is at-will). Match cannot prove any

 5 “independently wrongful” act because it cannot prove that Google violated any other law.

 6 III.      GOOGLE WILL PREVAIL ON ITS COUNTERCLAIMS

 7           Google respectfully refers the Court to the parties’ joint pretrial statement for a more

 8 detailed description of Google’s counterclaims against Epic and Match. Google summarizes the

 9 broad outlines of these counterclaims below.
10           A.      Epic Intentionally Deceived Google Using a Secret Scheme
11           In an effort that Epic codenamed “Project Liberty,” Epic launched a secret and “highly
12 choreographed attack on Apple and Google.” Apple I, 559 F. Supp. 3d at 935. One of Epic’s

13 “primary reasons” for this attack was to obtain “tremendous monetary gain and wealth.” Id.

14 While Google provided Epic with resources to build an Android version of Fortnite and distribute

15 it through the Google Play store, Epic was plotting against it. Just months later, “in willful

16 violation of [its] contractual obligations,” Epic “engineered a ‘hotfix’ to covertly introduce code

17 that would enable additional payment methods for the iOS and Android versions of Fortnite.” Id.

18 at 936–37. Epic’s scheme to bypass agreed-upon fees for the use of the Google Play store was a

19 breach of contract. And Epic’s deceitful conduct unjustly enriched Epic at Google’s expense.

20           B.      Match Made False Promises and Breached its Contract with Google
21           For years, Match tried to avoid paying Google service fees by misconstruing its contract
22 with Google and bypassing Google’s billing system. When Google clarified publicly that this was

23 not permitted, Match falsely promised Google that it would comply, stringing Google along for

24 months while Google wasted valuable resources trying to help Match. Match still refuses to pay

25 the service fees required by the contract that Match signed. Match’s conduct was a breach of

26 contract and a fraud that unjustly enriched Match by more than $20 million.

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 1 DATED: October 5, 2023                       Respectfully submitted,

 2

 3
                                                By:         /s/ Glenn D. Pomerantz
 4                                                    Glenn D. Pomerantz
 5                                                    Glenn D. Pomerantz, S.B. #112503
                                                      glenn.pomerantz@mto.com
 6                                                    Kuruvilla Olasa, S.B. #281509
                                                      kuruvilla.olasa@mto.com
 7                                                    Nicholas R. Sidney, S.B. #308080
                                                      nick.sidney@mto.com
 8                                                    MUNGER, TOLLES & OLSON LLP
                                                      350 South Grand Avenue, Fiftieth Floor
 9                                                    Los Angeles, California 90071
                                                      Telephone: (213) 683-9100
10                                                    Counsel for Defendants Google LLC, et al.
11                                                    Kyle W. Mach, S.B. #282090
                                                      kyle.mach@mto.com
12                                                    Justin P. Raphael, S.B. #292380
                                                      justin.raphael@mto.com
13                                                    Emily C. Curran-Huberty, S.B. #293065
                                                      emily.curran-huberty@mto.com
14                                                    Dane P. Shikman, S.B. #313656
                                                      dane.shikman@mto.com
15                                                    Rebecca L. Sciarrino, S.B. # 336729
                                                      rebecca.sciarrino@mto.com
16                                                    MUNGER, TOLLES & OLSON LLP
                                                      560 Mission Street, Twenty Seventh Floor
17                                                    San Francisco, California 94105
                                                      Telephone: (415) 512-4000
18
                                                      Jonathan I. Kravis, pro hac vice
19                                                    jonathan.kravis@mto.com
                                                      Lauren Bell, pro hac vice
20                                                    lauren.bell@mto.com
                                                      MUNGER, TOLLES & OLSON LLP
21                                                    601 Massachusetts Avenue NW, Suite 500E
                                                      Washington, D.C. 20001
22                                                    Telephone: (202) 220-1100
23

24

25

26

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 1                                                   Brian C. Rocca, S.B #221576
                                                     brian.rocca@morganlewis.com
 2                                                   Sujal J. Shah, S.B #215230
                                                     sujal.shah@morganlewis.com
 3                                                   Michelle Park Chiu, S.B #248421
                                                     michelle.chiu@morganlewis.com
 4                                                   Minna Lo Naranjo, S.B #259005
                                                     minna.naranjo@morganlewis.com
 5                                                   Rishi P. Satia, S.B #301958
                                                     rishi.satia@morganlewis.com
 6                                                   MORGAN, LEWIS & BOCKIUS LLP
                                                     One Market, Spear Street Tower
 7                                                   San Francisco, CA 94105
                                                     Telephone: (415) 442-1000
 8                                                   Facsimile: (415) 422-1001

 9                                                   Richard S. Taffet, pro hac vice
                                                     richard.taffet@morganlewis.com
10                                                   MORGAN, LEWIS & BOCKIUS LLP
                                                     101 Park Avenue
11                                                   New York, NY 10178
                                                     Telephone: (212) 309-6000
12                                                   Facsimile: (212) 309-6001
13                                                   Neal Kumar Katyal, pro hac vice
                                                     neal.katyal@hoganlovells.com
14                                                   Jessica L. Ellsworth, pro hac vice
                                                     jessica.ellsworth@hoganlovells.com
15                                                   HOGAN LOVELLS US LLP
                                                     555 Thirteenth Street, NW
16                                                   Washington, D.C. 20004
                                                     Telephone: (202) 637-5600
17                                                   Facsimile: (202) 637-5910
18                                                   Counsel for Defendants Google LLC, et al.
19

20

21

22

23

24

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 1                                       E-FILING ATTESTATION

 2          I, Dane P. Shikman, am the ECF User whose ID and password are being used to file this

 3 document. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that each of the signatories

 4
     identified above has concurred in this filing.
 5

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 7                                                     /s/ Dane P. Shikman
                                                       Dane P. Shikman
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